                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CH ARLOTTE DIVISION


MAACO FRANCHISOR SPV, LLC AS                          )
SUCCESSOR-IN-INTEREST TO MAACO                        )
FRANCHISING, LLC,                                     )
                                                      )
       Plaintiff,                                     )                Civil Case No.
                                                      )          3:18-cv-00461-MOC-DCK
vs.                                                   )
                                                      )
CIPERCEN, LLC, A TEXAS LIMITED                        )
LIABILITY COMPANY, JORGE CEREIJO,                     )
INDIVIDUALLY, AND ANDRES BURZACO,                     )
INDIVIDUALLY,                                         )
                                                      )
       Defendants.                                    )


                     ANDRES BURZACO’S ANSWER TO COMPLAINT

       NOW COMES Defendant Andres Burzaco (“Burzaco” or “Defendant”), by and through

its undersigned counsel, pursuant to Rule 12 of the Federal Rules of Civil Procedure, and hereby

answers each of the numbered paragraph of Plaintiff’s Complaint as follows:

                                             ANSWER

       1.      The allegations of this Paragraph do not call for a response from this answering

Defendant or otherwise call for a legal conclusion and, therefore, no response is required. To the

extent a response is required, this answering Defendant is without sufficient information to form a

belief as to the truth of the matters alleged in this Paragraph and, therefore, denies the same.

       2.      Upon information and belief, the allegations of this Paragraph are admitted.

       3.      The allegations of this Paragraph call for a legal conclusion and, therefore, no

response is required. To the extent a response is required, this answering Defendant is without



                                                  1
sufficient information to form a belief as to the truth of the matters alleged in this Paragraph and,

therefore, denies the same.

       4.      It is denied that this answering Defendant is a citizen of Barbados. Upon

information and belief, the remaining allegations of this Paragraph are admitted.

       5.      Upon information and belief, the allegations of this Paragraph are admitted.

       6.      Admitted.

       7.      Upon information and belief, the allegations of this Paragraph are admitted.

       8.      Upon information and belief, the allegations of this Paragraph are admitted.

       9.      Upon information and belief, the allegations of this Paragraph are admitted.

       10.     Upon information and belief, the allegations of this Paragraph are admitted.

       11.     Upon information and belief, is admitted that this Court has jurisdiction over the

parties and claims in this action, and that the laws of North Carolina control the parties’ agreements

and claims. The remaining allegations of this Paragraph do not call for a response from this

answering Defendant or otherwise call for a legal conclusion and, therefore, no response is

required. To the extent a response is required, this answering Defendant is without information

sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies the

remaining allegations of this Paragraph. Except as expressly admitted, the allegations of this

Paragraph are denied.

       12.     Upon information and belief, is admitted that this Court has jurisdiction over the

parties and claims in this action, and that the laws of North Carolina control the parties’ agreements

and claims. The remaining allegations of this Paragraph do not call for a response from this

answering Defendant or otherwise call for a legal conclusion and, therefore, no response is

required. To the extent a response is required, this answering Defendant is without information


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sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies the

remaining allegations of this Paragraph. Except as expressly admitted, the allegations of this

Paragraph are denied.

       13.     Upon information and belief, is admitted that this Court has jurisdiction over the

parties and claims in this action, and that the laws of North Carolina control the parties’ agreements

and claims. The remaining allegations of this Paragraph do not call for a response from this

answering Defendant or otherwise call for a legal conclusion and, therefore, no response is

required. To the extent a response is required, this answering Defendant is without information

sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies the

remaining allegations of this Paragraph. Except as expressly admitted, the allegations of this

Paragraph are denied.

       14.     Upon information and belief, is admitted that venue is proper in this action. The

remaining allegations of this Paragraph do not call for a response from this answering Defendant

or otherwise call for a legal conclusion and, therefore, no response is required. To the extent a

response is required, this answering Defendant is without information sufficient to form a belief

as to the truth of the matter(s) asserted and, therefore, denies the remaining allegations of this

Paragraph. Except as expressly admitted, the allegations of this Paragraph are denied.

       15.     Upon information and belief, is admitted that venue is proper in this action. The

remaining allegations of this Paragraph do not call for a response from this answering Defendant

or otherwise call for a legal conclusion and, therefore, no response is required. To the extent a

response is required, this answering Defendant is without information sufficient to form a belief

as to the truth of the matter(s) asserted and, therefore, denies the remaining allegations of this

Paragraph. Except as expressly admitted, the allegations of this Paragraph are denied.


                                                  3
       16.     This answering Defendant is without sufficient information to form a belief as to

the truth of the matters alleged in this Paragraph and, therefore, denies the same.

       17.     This answering Defendant is without sufficient information to form a belief as to

the truth of the matters alleged in this Paragraph and, therefore, denies the same.

       18.     This answering Defendant is without sufficient information to form a belief as to

the truth of the matters alleged in this Paragraph and, therefore, denies the same.

       19.     This answering Defendant is without sufficient information to form a belief as to

the truth of the matters alleged in this Paragraph and, therefore, denies the same.

       20.     This answering Defendant is without sufficient information to form a belief as to

the truth of the matters alleged in this Paragraph and, therefore, denies the same.

       21.     This answering Defendant is without sufficient information to form a belief as to

the truth of the matters alleged in this Paragraph and, therefore, denies the same.

                                            Center 2749

       22.     It is admitted that Corporate Defendant entered into an agreement with Maaco for

a facility (“2749 Franchise Agreement”) generally located at 2235 Michigan Avenue, Arlington,

Texas (“Center 2749”), which agreement is in writing and is the best evidence of its contents. It

is further admitted that, upon information and belief, a true and accurate copy of this 2749

Franchise Agreement is attached to the Complaint as Exhibit A. Except as expressly admitted,

the allegations of this Paragraph are denied.

       23.     It is admitted that Corporate Defendant entered into an addendum to the 2749

Franchise Agreement (“2749 Addendum”), which Addendum is in writing and is the best evidence

of its contents. It is further admitted that, upon information and belief, a true and accurate copy of




                                                  4
this 2749 Addendum is attached to the Complaint as Exhibit B. Except as expressly admitted, the

allegations of this Paragraph are denied.

       24.     It is admitted that defendants Cereijo and Burzaco executed a personal guaranty of

the 2749 Agreement (“2749 Personal Guaranty”), which 2749 Personal Guaranty is in writing and

is the best evidence of its contents. It is further admitted that, upon information and belief, a true

and accurate copy of this 2749 Personal Guaranty is attached to the Complaint as Exhibit C.

Except as expressly admitted, the allegations of this Paragraph are denied.

       25.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. It is admitted that Center 2749 opened for business on or about

November 15, 2016. Except as expressly admitted, the allegations of this Paragraph are denied.

       26.     It is admitted that the 2749 Franchise Agreement and 2749 Addendum are in

writing, speak for themselves, and are the best evidence of their contents. Except as expressly

admitted, the allegations of this Paragraph are denied.

       27.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       28.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       29.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.




                                                  5
        30.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

        31.     Denied.

        32.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

        33.     It is admitted that Macco provided the Defendants a written notice of default dated

July 20, 2017 (“2749 Notice of Default”). It is admitted that the 2749 Notice of Default is in

writing, speaks for itself, and is the best of its contents. It is further admitted that, upon information

and belief, a true and accurate copy of this 2749 Notice of Default is attached to the Complaint as

Exhibit D. Except as expressly admitted, the allegations of this Paragraph are denied.

        34.     It is admitted that Macco provided the Defendants a written notice of termination

dated September 19, 2017 (“2749 Notice of Termination”). It is admitted that the 2749 Notice of

Termination is in writing, speaks for itself, and is the best of its contents. It is further admitted

that, upon information and belief, a true and accurate copy of this 2749 Notice of Termination is

attached to the Complaint as Exhibit E. Except as expressly admitted, the allegations of this

Paragraph are denied.

        35.     It is admitted that Macco provided the Defendants a written notice dated June 11,

2018 (“2749 Revocation of License”). It is admitted that the 2749 Notice of Termination is in

writing, speaks for itself, and is the best of its contents. It is further admitted that, upon information

and belief, a true and accurate copy of this 2749 Revocation of License is attached to the Complaint

as Exhibit F. Except as expressly admitted, the allegations of this Paragraph are denied.


                                                    6
       36.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied upon information and belief.

       37.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       38.     Denied.

       39.     Denied.

       40.     Denied.

       41.     Denied.

       42.     Denied.

       43.     Denied.

       44.     Denied.

                                            Center 2140

       45.     It is admitted that Corporate Defendant entered into an agreement with Maaco for

a facility (“2140 Franchise Agreement”) generally located at 3308 E. Pioneer Parkway, Arlington,

Texas 76010 (“Center 2140”), which agreement is in writing and is the best evidence of its

contents. It is further admitted that, upon information and belief, a true and accurate copy of this

2140 Franchise Agreement is attached to the Complaint as Exhibit G. Except as expressly

admitted, the allegations of this Paragraph are denied.

       46.     It is admitted that defendants Cereijo and Burzaco executed a personal guaranty of

the 2140 Agreement (“2140 Personal Guaranty”), which 2140 Personal Guaranty is in writing and

is the best evidence of its contents. It is further admitted that, upon information and belief, a true


                                                  7
and accurate copy of this 2140 Personal Guaranty is attached to the Complaint as Exhibit H.

Except as expressly admitted, the allegations of this Paragraph are denied.

       47.     It is admitted that defendants Cereijo and Burzaco executed a personal guaranty of

the 2140 Agreement (“2140 Personal Guaranty”), which 2140 Personal Guaranty is in writing and

is the best evidence of its contents. It is further admitted that, upon information and belief, a true

and accurate copy of this 2140 Personal Guaranty is attached to the Complaint as Exhibit I. Except

as expressly admitted, the allegations of this Paragraph are denied.

       48.     It is admitted that the 2749 Franchise Agreement and 2749 Addendum are in

writing, speak for themselves, and are the best evidence of their contents. Except as expressly

admitted, the allegations of this Paragraph are denied.

       49.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       50.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       51.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       52.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       53.     Denied.


                                                  8
        54.     It is admitted that the 2749 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

        55.     It is admitted that Macco provided the Defendants a written notice of default dated

July 20, 2017 (“2140 Notice of Default”). It is admitted that the 2140 Notice of Default is in

writing, speaks for itself, and is the best of its contents. It is further admitted that, upon information

and belief, a true and accurate copy of this 2140 Notice of Default is attached to the Complaint as

Exhibit J. Except as expressly admitted, the allegations of this Paragraph are denied.

        56.     It is admitted that Macco provided the Defendants a written notice of termination

dated September 19, 2017 (“2140 Notice of Termination”). It is admitted that the 2140 Notice of

Termination is in writing, speaks for itself, and is the best of its contents. It is further admitted

that, upon information and belief, a true and accurate copy of this 2140 Notice of Termination is

attached to the Complaint as Exhibit K. Except as expressly admitted, the allegations of this

Paragraph are denied.

        57.     It is admitted that Macco provided the Defendants a written notice dated June 11,

2018 (“2140 Revocation of License”). It is admitted that the 2140 Notice of Termination is in

writing, speaks for itself, and is the best of its contents. It is further admitted that, upon information

and belief, a true and accurate copy of this 2140 Revocation of License is attached to the Complaint

as Exhibit L. Except as expressly admitted, the allegations of this Paragraph are denied.

        58.     It is admitted that the 2140 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied upon information and belief.




                                                    9
       59.     It is admitted that the 2140 Franchise Agreement is in writing, speaks for itself, and

is the best evidence of its contents. Except as expressly admitted, the allegations of this Paragraph

are denied.

       60.     Denied.

       61.     Denied.

       62.     Denied.

       63.     Denied.

       64.     Denied.

       65.     Denied.

       66.     Denied.

       67.     Denied.

       68.     It is admitted that Macco provided the Defendants a written letter dated April 26,

2018 (referred to in the Complaint as the “Final Demand”). It is admitted that the Final Demand

is in writing, speaks for itself, and is the best of its contents. It is further admitted that, upon

information and belief, a true and accurate copy of this Final Demand is attached to the Complaint

as Exhibit M. Except as expressly admitted, the allegations of this Paragraph are denied.

       69.     Upon information and belief, denied.

                                         COUNT I
              Breach of the Franchise Agreement Against Corporate Defendant
                                 2749 Franchise Agreement

       70.     This answering Defendant realleges and incorporates by reference its answers to

Paragraph 1 through Paragraph 69 of the Complaint above.

       71.     Denied.

       72.     Denied.


                                                 10
        73.     The allegations of this Paragraph call for a legal conclusion and, therefore, no

response is required. To the extent a response is required, this answering Defendant is without

information sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies

the allegations of this Paragraph.

        74.     Denied.

        75.     Denied.

        76.     Denied.

        77.     Denied.

        78.     Denied.

        79.     Denied.

                                        COUNT II
              Breach of the Franchise Agreement Against Corporate Defendant
                                 2140 Franchise Agreement

        80.     This answering Defendant realleges and incorporates by reference its answers to

Paragraph 1 through Paragraph 79 of the Complaint above.

        81.     Denied.

        82.     Denied.

        83.     The allegations of this Paragraph call for a legal conclusion and, therefore, no

response is required. To the extent a response is required, this answering Defendant is without

information sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies

the allegations of this Paragraph.

        84.     Denied.

        85.     Denied.

        86.     Denied.


                                                  11
       87.     Denied.

       88.     Denied.

       89.     Denied.

                                         COUNT III
                         Breach of Personal Guaranty Against Cereijo

       90.     This answering Defendant realleges and incorporates by reference its answers to

Paragraph 1 through Paragraph 89 of the Complaint above.

       91.     Denied.

       92.     Denied.

       93.     Denied.

       94.     Denied.

       95.     Denied.

       96.     It is admitted that the 2749 Personal Guaranty is in writing, speaks for itself, and is

the best evidence of its contents. This answering Defendant is without information sufficient to

form a belief as to the truth of the matter(s) asserted in the remaining allegations and, therefore,

denies them.

       97.     Denied.

       98.     This answering Defendant is without information sufficient to form a belief as to

the truth of the matter(s) asserted and, therefore, denies the allegations of this Paragraph.

                                         COUNT IV
                      Breach of 2140 Personal Guaranty Against Cereijo

       99.     This answering Defendant realleges and incorporates by reference its answers to

Paragraph 1 through Paragraph 98 of the Complaint above.

       100.    Denied.


                                                 12
       101.    Denied.

       102.    Denied.

       103.    Denied.

       104.    It is admitted that the 2140 Personal Guaranty is in writing, speaks for itself, and is

the best evidence of its contents. This answering Defendant is without information sufficient to

form a belief as to the truth of the matter(s) asserted in the remaining allegations and, therefore,

denies them.

       105.    Denied.

       106.    Denied.

       107.    This answering Defendant is without information sufficient to form a belief as to

the truth of the matter(s) asserted and, therefore, denies the allegations of this Paragraph.

                                          COUNT V
                      Breach of 2749 Personal Guaranty Against Burzaco

       108.    This answering Defendant realleges and incorporates by reference its answers to

Paragraph 1 through Paragraph 107 of the Complaint above.

       109.    Denied.

       110.    Denied.

       111.    Denied.

       112.    Denied.

       113.    The allegations of this Paragraph call for a legal conclusion and, therefore, no

response is required. To the extent a response is required, this answering Defendant denies the

allegations of this Paragraph.

       114.    Denied.



                                                 13
        115.    Denied.

        116.    The allegations of this Paragraph call for a legal conclusion and, therefore, no

response is required. To the extent that a response is required, this answering Defendant is without

information sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies

the allegations of this Paragraph.

                                         COUNT VI
                      Breach of 2140 Personal Guaranty Against Burzaco

        117.    This answering Defendant realleges and incorporates by reference its answers to

Paragraph 1 through Paragraph 116 of the Complaint above.

        118.    Denied.

        119.    Denied.

        120.    Denied.

        121.    Denied.

        122.    Denied.

        123.    Denied.

        124.    Denied.

        125.    The allegations of this Paragraph call for a legal conclusion and, therefore, no

response is required. To the extent that a response is required, this answering Defendant is without

information sufficient to form a belief as to the truth of the matter(s) asserted and, therefore, denies

the allegations of this Paragraph.


                                     AFFIRMATIVE DEFENSES
                                          First Defense




                                                  14
        The Complaint fails to state a claim against the Defendant upon which relief can be granted

and should be dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                             Second Defense

        Plaintiff’s claims are barred to the extent Plaintiff lacks standing to bring these claims in

that they are not the successor in interest to these claims, the agreements that form the basis of

these claims were not assignable to the Plaintiff, and/or the Plaintiff is not the real party in interest.

                                             Third Defense

        Plaintiff’s claims are barred to the extent that Plaintiff materially breached the agreements

forming the basis of their claims prior to or contemporaneously with the alleged breaches by

Defendant, thereby excusing certain obligations under such agreement(s) and any subsequent oral

and/or written modifications.

                                             Fourth Defense

        Plaintiff’s claims are barred to the extent that they caused their own damages and/or forced

Defendant to breach one or more of the agreements in question.

                                             Fifth Defense

        Plaintiff’s claims are barred by the doctrine of unclean hands. Grounds for this defense

include, but may not be limited to, Plaintiff’s wrongful actions as complained of in the

counterclaim of Defendant Cipercen, LLC, the allegations of which are incorporated by reference

and restated as if fully set forth herein.

                                             Sixth Defense

        Plaintiff’s claims are barred by the doctrines of estoppel, waiver, and/or laches. Grounds

for this defense include, but may not be limited to, Plaintiff’s wrongful actions as complained of




                                                   15
in the counterclaim of Defendant Cipercen, LLC, the allegations of which are incorporated by

reference and restated as if fully set forth herein.

                                           Seventh Defense

        Plaintiff’s claims are barred to the extent that they were not brought within the applicable

statutes of limitations and repose.

                                            Eight Defense

        Plaintiff’s claims are barred to the extent Plaintiff failed to meet or comply with

condition(s) precedent to bringing suit.

                                            Ninth Defense

        Plaintiff’s claims must fail and should be dismissed to the extent they are barred by the

doctrine of accord and satisfaction.

                                            Tenth Defense

        Plaintiff’s claims are barred to the extent that Plaintiff’s actions, including but not limited

to those actions complained of in the counterclaim of Defendant Cipercen, LLC (the allegations

of which are incorporated by reference and restated as if fully set forth herein), placed the

Defendant under duress or in unforeseeable circumstances, thereby excusing any alleged breach

of an agreement.

                                           Eleventh Defense

        Plaintiff’s claims are barred to the extent that any of the agreements that Plaintiff alleges

were breached by the Defendants are unenforceable, for any reason and in whole or in part. By

way of example but not limitation, the Plaintiff’s claims are barred for lack of consideration, a

failure to reach a meeting of the minds on essential and material terms of such agreements, and the




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personal guarantees were executed (at least by certain Defendants) prior to the execution of the

agreements which they purport to guaranty.

                                          Twelfth Defense

        Defendant reserves the right to assert any additional affirmative defenses that may be

warranted based upon discovery in this action and to amend their answer to add such affirmative

defenses.

                                           CROSSCLAIM

                Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Counterclaimant

Andres Burzaco (“Burzaco” or “Crossclaimant”), by and through its undersigned counsel of

record, complaining of Co-Defendant Jorge Cereijo (“Jorge”), hereby alleges and says as follows:

                             PARTIES, JURISDICTION, and VENUE

        1.      Burzaco hereby incorporates by reference Paragraphs 2 through 13, and Paragraph

15, of the Complaint, and restates them herein upon information and belief.

        2.      Further, venue of this action in this District and Division is proper in accordance

with 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to this claim

occurred in this District.

                                   GENERAL ALLEGATIONS

        3.      As referenced in Paragraphs 24 and 46 of the Complaint, Burzaco and Jorge entered

into several agreements whereby they agreed to be jointly and severally liable to Plaintiff (the

“Personal Guarantees”). The Personal Guarantees are in writing, speak for themselves, are the

best evidence of their contents, and the terms of the Personal Guarantees are incorporated by

reference and restated as if fully set forth herein.




                                                  17
        4.      Upon information and belief, Burzaco and Jorge agreed, both expressly and

impliedly, to share equally in any liability to Plaintiff under the Personal Guarantees (the “Personal

Guaranty Indemnification Agreement”).

        5.      Burzaco and Jorge entered into the Personal Guaranty Indemnification Agreement

in exchange for each agreeing to execute the Personal Guarantees.

        6.      The Personal Guaranty Indemnification Agreement is an enforceable agreement

between Burzaco and Jorge.

        7.      Upon information and belief, Burzaco and Jorge also agreed to indemnify each

other for any personal liability they incurred that exceeded fifty percent (50%) of the joint liability

of Burzaco and Jorge arising out their involvement with Cipercen, LLC (the “Cipercen

Indemnification Agreement”) (the Cipercen Indemnification Agreement and the Personal

Guaranty Indemnification Agreement are collectively referred to herein as the “Indemnification

Agreements”).

        8.      Burzaco and Jorge entered into the Cipercen Indemnification Agreement in

exchange for each party agreeing to undertake business opportunities that posed the risk of

personal liability to both parties.

        9.      The Cipercen Indemnification Agreement is an enforceable agreement between

Burzaco and Jorge.

        10.     In the event that Plaintiff proves it has suffered damages, which is denied, and in

the event that Burzaco is deemed liable for any such damages, which is denied, Burzaco is entitled

to be indemnified by Jorge to the extent Burzaco pays over fifty percent (50%) of the joint ans

several liability of both Burzaco and Jorge.




                                                  18
       11.     In the event that Plaintiff proves it has suffered damages, which is denied, and in

the event that Burzaco is deemed liable for any such damages, which is denied, Burzaco is entitled

to contribution from Jorge to the extent Burzaco pays over fifty percent (50%) of the joint and

several liability of both Burzaco and Jorge.

                                     PRAYER FOR RELIEF

       WHEREFORE, having fully responded to the allegations of the Verified Complaint,

Defendant hereby prays for the following relief:

   a) That all of Plaintiff’s claims be dismissed with prejudice;

   b) That Judgment be entered in favor of Defendant and against Plaintiff on all causes of action

       contained in the Complaint;

   c) That Judgement be entered in favor of Defendant and against Co-Defendant Jorge on all

       causes of action contained in the Crossclaim;

   d) That Plaintiff’s damages, if any, be reduced by the amount that Plaintiff has failed to

       mitigate its damages;

   e) That Defendant have a trial by jury on all issues so triable;

   f) That the costs of this action be taxed against Plaintiff as allowed by law, including, but not

       limited to, court costs, and attorney’s fees as provided for by contract or otherwise at law;

       and

   g) For such other and further relief that this Court deems just and proper.



                           [SIGNATURES ON FOLLOWING PAGE]




                                                19
This the 31st day of October 2018.

                                 ROSENWOOD, ROSE & LITWAK, PLLC

                                 /s/ Whitaker B. Rose
                                 Whitaker Rose (NC Bar No. 43472)
                                 Carl J. Burchette (NC Bar No. 47617)
                                 Attorneys for Defendant Andres Burzaco
                                 505 East Boulevard
                                 Charlotte, North Carolina 28203
                                 Telephone: (704) 228-8578
                                 Fax: (704) 371-6400
                                 wrose@rosenwoodrose.com
                                 cburchette@rosenwoodrose.com




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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing ANSWER AND COUNTERCLAIM was
served upon all parties of record by electronically filing a copy of the same with the Court’s ECF
filing system which will send electronic notice by e-mail to:

                                        David L. Tkach
                                    David L. Tkach, PLLC
                                 2300 E. 7th Street, Suite 101-A
                                     Charlotte, NC 28204

                                       Dennis D. Leone
                                    Shankman Leone, P.A.
                                707 N. Franklin Street, 5th Floor
                                      Tampa, FL 33602


       This the 31st day of October, 2018.



                                             /s/ Whitaker B. Rose
                                             Whitaker Rose (NC Bar No. 43472)
                                             Carl J. Burchette (NC Bar No. 47617)
                                             Attorneys for Defendant Andres Burzaco
                                             505 East Boulevard
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